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Attorneys for Plaintiff
UNITED STATES OF AMERICA

IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF HAWAII

UNITED STATES OF AMERICA, CR. NO. 17-00101 LEK

)
}
Plaintiff, ) APPLICATION AND ORDER FOR
) WRIT OF HABEAS CORPUS AD
vs. ) PROSEQUENDUM
}
ANTHONY T. WILLIAMS, (Ol) )
)
Defendant. )
)

 

APPLICATION AND ORDER FOR
WRIT OF HABEAS CORPUS AD PROSEQUENDUM

COMES NOW the UNITED STATES OF AMERICA, by the United
States Attorney, and represents and shows:

That the defendant ANTHONY T. WILLIAMS is presently
charged in the above-captioned matter With wire fraud and mail
fraud in violation of Title lB, United States Code, Sections
1341 and 1343, and is now detained in the Florida State Prison,

23916 NW 83m-Avenue, Raiford, FL 32083, in the custody of the

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Warden. It is necessary to have said defendant present in the
above-entitled case for arraignment and plea on September 6,
2017, at 2:30 p.m., in the courtroom of the Honorable Barry M.
Kurren, United States Magistrate Judge, United States
Courthouse, 300 Ala Moana Boulevard, Honolulu, Hawaii; in order
to secure the presence of defendant it is necessary that a Writ
of Habeas Corpus Ad Prosequendum be issued commanding said
Warden to produce said defendant to the United States Marshal in
order to procure his presence in said courtroom on said date,
and at such other dates as may be necessary until termination of
the criminal charges now pending against the defendant.
WHEREFORE, your petitioner prays for an order
directing the issuance of a Writ of Habeas Corpus Ad
Prosequendum out of and under the seal of this Court, directed
to said Warden commanding him to have and produce the
above-named defendant to the United States Marshal, in order to
procure defendant's presence before the Honorable Barry M.
Kurren in said courtroom, on said date and time, and from day to
day thereafter as may be necessary; the United States Marshal
shall retain custody of defendant and at the termination of the
criminal charges now pending against defendant return him to the
Florida State Prison.
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DATED: _,_j-),)/ 7 1 92017 , Honolulu, Hawaii.
/ r
ELLIOT ENOKI

Acting United States Attorney
District of Hawaii

BY

 

67 ,
RONALD c. FNSON
Assistant .S. Attorney
Attorneys for Plaintiff
UNITED STATES OF AMERICA

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Upon reading and filing the foregoing Application in
that behalf;

IT IS HEREBY ORDERED that a Writ of Habeas Corpus Ad
Prosequendum be issued as prayed for herein;

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DATED: , Honolulu, Hawaii.

 

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UNITED STATES MAGI‘E(TRATE JU'DGE

UNITED STATES v. ANTHONY T. WILLIAMS
Cr. No. 17~00101 LEK

“Application and Order for Writ of
Habeas Corpus Ad Prosequendum”

 

